   Case 24-10205 Doc            241 Filed 03/18/25 Entered               03/18/25 09:53:38
              Desc            Main Document           Page              1 of 3



                         UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF VERMONT


 In re:

 ROMAN CATHOLIC DIOCESE OF                               Chapter 11
 BURLINGTON, VERMONT,                                    Case No. 24-10205-HCZ

                         Debtor.


RICE MEMORIAL HIGH SCHOOL’S OBJECTION TO MOTION OF THE OFFICIAL
    COMMITTEE OF UNSECURED CREDITORS FOR ENTRY OF AN ORDER
PURSUANT TO BANKRUPTCY RULE 2004 AUTHORIZING AND DIRECTING THE
           PRODUCTION OF DOCUMENTS BY THE DEBTOR

          Rice Memorial High School (“Rice”) hereby objects to the Motion of the Official

Committee of Unsecured Creditors for Entry of an Order Pursuant to Bankruptcy Rule 2004

Authorizing and Directing the Production of Documents by the Debtor [Dkt. No. 226] (the

“Motion”), as follows:

                                           Objection

          1.    Founded in 1917, Rice provides Catholic secondary and college preparatory

education to approximately 400 students in grades 9-12 at its campus in South Burlington,

Vermont. Although located in, and affiliated with, the Debtor, Rice remains separate from the

Debtor as an “unincorporated association” under 12 V.S.A. § 814.

          2.    As a threshold matter, both the title and text of the Motion seek production of

documents under Bankruptcy Rule 2004 only “by the Debtor.” The Motion itself acknowledges

that “Affiliates” includes “any of the Catholic-based social and community service organizations

operating within the DIOCESE REGION,” regardless of whether such “Affiliates” are separate

corporations or unincorporated associations.
   Case 24-10205 Doc            241 Filed 03/18/25 Entered                  03/18/25 09:53:38
              Desc            Main Document           Page                 2 of 3



       3.      While Bankruptcy Rule 2004 provides that “the court may order the examination

of any entity,” the Motion does not seek the examination of any entity other than the Debtor. It is

improper for the Debtor to produce the documents of Rice, particularly where the documents

requested involve extensive financial and operational information. Requests related to Rice must

be directed to Rice, and Rice must provide any production, even if the Debtor is in possession of

relevant records based on its contractual provision of certain administrative services to Rice.

       4.      Further, even if the Motion were properly directed to Rice, the scope of the requests

themselves is objectionable. “[T]he scope of the [Rule 2004] examination is not limitless; [it]

should not be so broad as to be more disruptive and costly [to the discovery target] than beneficial

to [the entity seeking discovery].” In re Texaco, Inc., 79 B.R. 551, 553 (Bankr. S.D.N.Y. 1987).

       5.      Here, the scope of the requests sought by the Motion is overbroad and unduly

burdensome on a non-profit Catholic organization like Rice, which serves a specific educational

mission within the Diocesan region distinct from the abuse allegations at the core of the Debtor’s

chapter 11 case. The requests seek extensive information for a 10 to 25 year period, much of which

has little (or nothing) to do with the Committee’s core function under Bankruptcy Code section

1103 – maximizing recoveries for general unsecured creditors. Rice is prepared to cooperate with

the Committee on a streamlined discovery process focused on providing the Committee with the

information necessary to perform its core duties. The Motion, however, does not serve that

purpose and should be denied.

       WHEREFORE, Rice requests that the Court deny the Motion.




                                                 2
  Case 24-10205 Doc             241 Filed 03/18/25 Entered                 03/18/25 09:53:38
             Desc             Main Document           Page                3 of 3



Dated: March 18, 2025                        Respectfully submitted,

                                             /s/ Jeremy R. Fischer
                                             Jeremy R. Fischer
                                             DRUMMOND WOODSUM
                                             84 Marginal Way, Suite 600
                                             Portland, Maine 04101-2480
                                             (207) 772-1941
                                             jfischer@dwmlaw.com

                                             Counsel to Rice Memorial High School


                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing objection has been served on all parties

requesting CM/ECF notice in this case via this Court’s CM/ECF system.


Dated: March 18, 2025                                /s/ Jeremy R. Fischer




                                                3
